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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLORADO

      Civil Action No. 23-cv-01610-DDD-MDB
      _______________________________________________________

      VIDEOCONFERENCE DEPOSITION OF JOSE GUERRERO
      January 23, 2025
      _______________________________________________________

      SUSAN DEHERRERA AND JOSE GUERRERO,

      Plaintiffs,

      vs.

      HUERFANO COUNTY, a municipality, JEFF BENSMAN, in his
      individual capacity, TERRY SANDOVAL, in his individual
      capacity, and SAM JENSEN, in his individual capacity,

      Defendants.
      _______________________________________________________


                  PURSUANT TO NOTICE, the deposition of JOSE

      GUERRERO, called for examination by the Defendants

      herein, was taken remotely, commencing at 2:34 p.m., on

      Thursday, January 23, 2025, before K. Michelle Dittmer,

      Registered Professional Reporter and Notary Public in

      and for the State of Colorado.




                                 EXHIBIT D
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  1   then there was another -- and then there was another

  2   moment where he didn't?

  3                    MR. MINSHALL:     Objection.     Form.

  4               Q.   (By Mr. Hegarty)    I'm just asking if you

  5   remember, Joe.

  6               A.   No.    At that point in time, I -- I was --

  7   I was more -- I turned my attention towards Terry

  8   Sandoval, and so I didn't even notice that -- that he did

  9   do that.    So if he did do that, then -- then -- then he

 10   did, but my -- my focus at that point in time was -- was

 11   keeping Terry Sandoval away from -- from my wife because,

 12   you know, she was really upset.

 13               Q.   And Mr. Bensman, he never entered the --

 14   the -- let me back up.

 15                    Susan, she gave the name "fifth wheel" to

 16   the beige-and-brown camping trailer that y'all had on

 17   your property and you lived in and I think you're in

 18   right now.

 19                    Does that sound right to you?

 20               A.   Yes.

 21               Q.   That day, July 13, 2021, Mr. Bensman did

 22   not enter the fifth wheel, correct?

 23               A.   No.

 24               Q.   And Susan -- Susan said that he didn't

 25   come within 10 feet of the fifth wheel, and she said that
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                                                                            Page 140
        1                  I, JOSE GOERREOO, hereby certify that I have
            read the foregoin g transcri pt and that the sama and
        2   aceatpan ying correcti on sheets, if any, constitu te a true
            and cooplata record of my testimon y.
        3
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        6                    Di0r0otors                      ■Mtf:9~Q&9~FGs.-------
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        7   67. 24          do not hold the deed            they do not hold the deed
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       25                NOTARY PJJBLIC
                       $TATE OF COLORADO
                      NOTARY ID 19954018924
                   MY COMMISSION EXPIRll 12/22/2027
